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 5
      Attorney for Plaintiff
 6

 7
                                     UNITED STATES DISTRICT COURT
 8
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                            SAN FRANCISCO DIVISION
10

11
     E.S., a minor, individually and on behalf of         Civil Action No. 3:23-cv-00168
12   all others similarly situated,
                                                          PLAINTIFF’S NOTICE OF
13                             Plaintiff,                 VOLUNTARY DISMISSAL WITH
                                                          PREJUDICE
14          v.
15
     LIFE360 INC.,
16
                               Defendant.
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     PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE
     CASE NO. 3:23-CV-00168
     Case 3:23-cv-00168-CRB          Document 29        Filed 11/03/23         Page 2 of 2


 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD

 2
            Plaintiff E.S. voluntarily dismisses his claims with prejudice pursuant to Fed. R. Civ. P.
 3
     41(a)(1)(A)(i).
 4

 5

 6    Dated: November 3, 2023                     BURSOR & FISHER, P.A.

 7                                                By:      /s/ Joel D. Smith
                                                             Joel D. Smith
 8
                                                  Joel D. Smith (SBN 244902)
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12                                                Attorney for Plaintiff

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     PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE                                                      1
     CASE NO. 3:23-CV-00168
